                       Case 4:19-cv-07123-PJH Document 63-3 Filed 05/01/20 Page 1 of 3



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          10       Attorneys for Plaintiffs
                   WHATSAPP INC. and FACEBOOK, INC.
          11

          12                                     UNITED STATES DISTRICT COURT

          13                                 NORTHERN DISTRICT OF CALIFORNIA

          14

          15       WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
                   and FACEBOOK, INC., a Delaware
          16       corporation,                                   SECOND DECLARATION OF DANIEL J.
                                                                  GROOMS IN SUPPORT OF WHATSAPP’S
          17                                                      ADMINISTRATIVE MOTION TO SEAL
                                   Plaintiffs,                    DOCUMENTS RELATED TO WHATSAPP’S
          18                                                      MOTION TO DISQUALIFY DEFENSE
                         v.                                       COUNSEL BASED ON PRIOR
          19                                                      REPRESENTATION IN A SEALED MATTER
                   NSO GROUP TECHNOLOGIES LIMITED
          20       and Q CYBER TECHNOLOGIES LIMITED,              Judge:      Hon. Phyllis J. Hamilton
                                                                  Date:       None required (L.R. 7-11(c))
          21                       Defendants.

          22

          23
                                                    REDACTED VERSION OF
          24
                                             DOCUMENT SOUGHT TO BE SEALED
          25

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          28
  COOLEY LLP
ATTORNEYS AT LAW                                                           SECOND DECLARATION OF DANIEL J. GROOMS
 SAN FRANCISCO
                                                             1.                        CASE NO. 4:19-CV-07123-PJH
                        Case 4:19-cv-07123-PJH Document 63-3 Filed 05/01/20 Page 2 of 3



            1      I, Daniel J. Grooms, declare:

            2             1.      I am a partner with the law firm of Cooley LLP and counsel for Plaintiffs WhatsApp

            3      Inc. and Facebook, Inc. in this matter.        I make this declaration in support of WhatsApp’s

            4      Administrative Motion to Seal Documents Related to WhatsApp’s Motion to Disqualify. The

            5      information in this declaration is based on my personal knowledge of this matter and information I

            6      obtained following a reasonable investigation of the events described below. If called as a witness, I

            7      could competently testify to the truth of each statement.

            8             2.      On Saturday, April 11, 2020, I served the documents filed under seal in this case on the

            9                                                                            .1

          10              3.      On Monday, April 13, 2020, I communicated by email with

          11                                       regarding the sealing issues in this above-captioned case.

          12              4.      On Friday, April 17, 2020, I wrote to                   to inquire as to the status of the

          13       Government’s review of the sealed documents.                          stated that he had reviewed the

          14       documents but that he needed to consult with other components of the Department of Justice before

          15       providing the Government’s position.

          16              5.                       and I spoke by phone on the morning of Monday, April 20, 2020.

          17                   indicated the matter remained under review. Later that same day, I spoke with

          18                   and other members of the Department of Justice who advised me that the Department had

          19       reviewed the documents filed under seal in this case.

          20              6.      The Department of Justice has advised me that it is their position that the documents

          21       provisionally submitted under seal should be sealed in their entirety to protect information related to

          22                             that remain under seal in the                               . The Department of

          23       Justice further advised that, should the Court deny the motion to seal, the Government respectfully

          24       requests 10 days of notice before the documents are unsealed and made available to the public so that

          25       it can take any appropriate action.

          26

          27       1
                     The proof of service indicates that I served the documents on Friday, April 10, 2020, as the
                   documents were filed shortly before midnight PST on that day. Because I served the documents just
          28       after midnight PST, however, the documents were served on Saturday, April 11, 2020.
  COOLEY LLP
ATTORNEYS AT LAW                                                                 SECOND DECLARATION OF DANIEL J. GROOMS
 SAN FRANCISCO
                                                                     2.                      CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 63-3 Filed 05/01/20 Page 3 of 3



            1                7.     I provided a copy of this declaration to the Department of Justice so they could confirm

            2      the declaration accurately reflects the Government’s position. I received such confirmation prior to

            3      filing.

            4                I declare under penalty of perjury that the foregoing is true and correct. Executed on April 20,

            5      2020, in Falls Church, Virginia.

            6                                                       /s/ Daniel J. Grooms
                                                                    Daniel J. Grooms
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  COOLEY LLP
ATTORNEYS AT LAW                                                                  SECOND DECLARATION OF DANIEL J. GROOMS
 SAN FRANCISCO
                                                                      3.                      CASE NO. 4:19-CV-07123-PJH
